     Case 1:17-cr-00047-JRH-BKE Document 161 Filed 02/09/18 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

 UNITED STATES OF AMERICA


                                            INDICTMENT NO.: l:17-cr-00047-2

 SHAWANDA CUYLER,

       Defendant.


               ORDER OF DISMISSAL WITHOUT PREJUDICE

      Now comes the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorney, and hereby dismisses the above-styled Indictment

against Defendant Shawanda Cuyler, showing the Court as follows:

      1.     On or about August 2, 2017, the Grand Jury for the Southern District of

Georgia returned an Indictment against Shawanda Cuyler, charging her with

Conspiracy to Commit Mail Fraud Affecting a Financial Institution and Aggravated

Identity Theft. (Doc. No. 3, Indictment.)

      2.     Thereafter, counsel for Defendant moved the Court to appoint an expert

and conduct a competency examination. (Doc. No. 110, Motion for Examination and

Determination of Competency.) The Government did not oppose that Motion.

      3.     On or about November 20, 2017, the Court appointed Dr. Joseph Frey,

III to conduct a psychological evaluation of Defendant Shawanda Cuyler and to make

a written report of his findings. (Doc. No. 119, Order.)
       Case 1:17-cr-00047-JRH-BKE Document 161 Filed 02/09/18 Page 2 of 2




       4.     On February 8, 2018, the Court held a competency hearing, during

which Dr. Frey's report was admitted into evidence and Dr. Frey testified, under oath,

that the Defendant was not competent to assist in her defense and to stand trial for

the Indictment in this case.


       5.     Based upon the findings and conclusions detailed in Dr. Frey's written

report and his testimony at the competency hearing, and in the interest ofjustice, the

United States Attorney for the Southern District of Georgia, by leave of Court

endorsed hereon, hereby dismisses without prejudice the above-styled Indictment

against Defendant, Shawanda Culer.




Date                                    Patricia G. Rhodes
                                        Deputy Chief, Criminal Division


 2^/18                                   C^^QpJ
Date                                    C. Troy Clark
                                        Georgia Bar No. 811674
                                        Assistant United States Attorney


       Leave of Court is granted for the filing of the foregoing dismissal.



       This   _Z
               7          of\ ^_J<JzAa*
                      day ofV^          ctruJ
                                 jUjA^q^j                    2018.




                                        CHIEIfJUDGE
                                               2D STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
